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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 17-22643 COOKE/GOODMAN

                                                    )
   FEDERAL ELECTION COMMISSION,                     )
                                                    )
                 Plaintiff,                         )
                                                    )
                 v.                                 )
                                                    )
   DAVID RIVERA,                                    )          STATUS REPORT
                                                    )
                 Defendant.                         )
                                                    )

                  FEDERAL ELECTION COMMISSION’S STATUS REPORT

         Pursuant to Magistrate Judge Goodman’s Paperless Order (ECF No. 165) regarding

   plaintiff Federal Election Commission’s Motion for Sanctions (ECF No. 133) (the “Motion”),

   the Federal Election Commission (“FEC”) submits the following Status Report.

         The FEC explained in its Motion that defendant David Rivera’s repeated unwillingness to

   agree to appear for deposition and noncompliance with this Court’s order met the criteria for the

   imposition of sanctions. The FEC sought (1) to have defendant David Rivera’s answer stricken;

   (2) to have default judgment entered; and (3) to recover $1,853.60 it incurred in court-reporter

   costs for the attempted deposition of Rivera on July 20, 2020, which included nearly six hours of

   waiting time. As indicated in the Paperless Order, however, the District Court’s Order granting

   the FEC’s Motion for Summary Judgment (ECF No. 163) moots the first two requests for relief

   and imposes substantial civil penalties. To eliminate the need for this Court to resolve the FEC’s

   remaining request in the Motion and thus conserve judicial resources, the FEC agreed to reduce

   the costs it seeks by half to a sum in the amount of $927.00. The FEC conferred with counsel

   for Rivera, who stated that his client has agreed to the terms of the FEC’s proposed resolution of
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   the Motion, and agreed to reimburse the FEC the $927.00, payable with the final judgment to be

   entered by the District Court. Accordingly, the parties have resolved the FEC’s Motion for

   Sanctions, and respectfully request that $927.00 in costs be awarded to the FEC, to be paid in

   conjunction with the Final Judgment entered by the District Court. A proposed Order is

   submitted herewith.

                                                       Respectfully submitted,

   Lisa J. Stevenson (Special Bar No. A5502354)        /s/ Shaina Ward
   Acting General Counsel                              Shaina Ward (Special Bar No. A5502563)
   lstevenson@fec.gov                                  sward@fec.gov
                                                       Attorney
   Kevin Deeley (Special Bar No. A5502355)
   Associate General Counsel                           Greg J. Mueller (Special Bar No. A5502376)
   kdeeley@fec.gov                                     gmueller@fec.gov
                                                       Attorney

   March 8, 2021                                       FOR THE PLAINTIFF
                                                       FEDERAL ELECTION COMMISSION
                                                       1050 First Street, NE
                                                       Washington, D.C. 20463
                                                       (202) 694-1650




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                                   CERTIFICATE OF SERVICE

           I, Shaina Ward, certify that on March 8, 2021, I electronically filed the foregoing Status
   Report and Proposed Order with the Clerk of the United States District Court for the Southern
   District of Florida by using the Court’s CM/ECF system, which sent notification of such filing to
   the following:

   Roy J. Kahn, Esq.
   rjk@roykahnlaw.com
   Counsel for Defendant David Rivera


                         /s/ Shaina Ward
                         Shaina Ward (Special Bar No. A5502563)
                         sward@fec.gov
                         Attorney




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